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                                                                              FILED
                    UNITED STATES COURT OF APPEALS                             APR 12 2018

                                                                           MOLLY C. DWYER, CLERK
                            FOR THE NINTH CIRCUIT                           U.S. COURT OF APPEALS




SHAVONDA HAWKINS, on behalf of                    No.    16-55532
herself and all others similarly situated,
                                                  D.C. No.
             Plaintiff-Appellant,                 3:15-cv-02320-JM-BLM
                                                  Southern District of California,
 v.                                               San Diego

THE KROGER COMPANY,
                                                  ORDER
             Defendant-Appellee.


Before: NGUYEN, Circuit Judge, and BLOCK,* District Judge.

      The parties are directed to file supplemental briefs that address what effect

the June 18, 2018 expiration of the safe harbor provided by the Food and Drug

Administration in its Final Determination Regarding Partially Hydrogenated Oils

will have on plaintiff’s requested claims and remedies. See 80 Fed. Reg. 34,650-51

(June 17, 2015).

      The briefs, limited to a single ten page brief for each party, are to be filed

simultaneously with the Clerk and served upon counsel for the other parties on or

before June 1, 2018.



      *
             The Honorable Frederic Block, United States District Judge for the
Eastern District of New York, sitting by designation.
